      Case 1:19-cv-01974-TNM Document 1-9 Filed 07/02/19 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF REPRESENTATIVES,
1102 Longworth House Office Building
Washington, D.C. 20515,

                             Plaintiff,

           v.                                         Case No. 1:19-cv-1974

UNITED STATES DEPARTMENT OF
THE TREASURY,
1500 Pennsylvania Avenue N.W.
Washington, D.C. 20220, et al.,

                             Defendants.




                            Exhibit I
                  Case 1:19-cv-01974-TNM Document 1-9 Filed 07/02/19 Page 2 of 2




                                     DEPARTMENT OF THE TREASURY
                                            WASHINGTON, D,C,

SECRETARY OF THE TREASURY

                                                  May 6, 2019

       The Honorable Richard E. Neal
       Chairman
       Committee on Ways and Means
       U.S. House of Representatives
       Washington, DC 20515

       Dear Chairman Neal:

       I write in further response to your letter of April 3, 2019, requesting the confidential tax returns
       (and other return information) of President Trump and related business entities for 2013 through
       2018, pursuant to 26 U.S.C. § 6103(±).

       As you have recognized, the Committee's request is unprecedented, and it presents serious
       constitutional questions, the resolution of which may have lasting consequences for all taxpayers.
       Accordingly, the Department of the Treasury has consulted with the Department of Justice
       concerning the lawfulness of your request. As explained in my April 23 letter, the Committee's
       statutory authority under section 6103(f) is bounded by Congress's authority under the
       Constitution, and the Supreme Court has held that the Constitution requires that Congressional
       information demands must reasonably serve a legitimate legislative purpose.

       In reliance on the advice of the Department of Justice, I have determined that the Committee's
       request lacks a legitimate legislative purpose, and pursuant to section 6103, the Department is
       therefore not authorized to disclose the requested returns and return information.

       The Department of Justice has informed us that it intends to memorialize its advice in a
       published legal opinion as soon as practicable. Out of respect for the deadlines previously set by
       the Committee, and consistent with our commitment to a prompt response, I am informing you
       now that the Department may not lawfully fulfill the Committee's request.

       Although the Department is unable to provide you with the requested confidential tax returns and
       return information, we renew our previous offer to provide information concerning the
       Committee's stated interest in how the IRS conducts mandatory examinations of Presidents, as
       provided by the Internal Revenue Manual. If the Committee is interested, we remain committed
       to providing such an accommodation.

                                                   Sincerely,


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                                                   Steven T. Mnuchin

       cc: The Honorable Kevin Brady, Ranking Member
